                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                    GREENEVILLE DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
                  Plaintiff,                         )                       2:20-CR-42
                                                     )
          vs.                                        )
                                                     )
 JERRY LYNN MORRELL,                                 )
                                                     )
                  Defendant.                         )
                                                     )
                                                     )
                                                     )


                           ORDER ON DISCOVERY AND SCHEDULING


         Following Defendant’s initial appearance on June 10, 2020, the parties and their counsel

appeared before the undersigned to set the case for trial within the confines of the Speedy Trial Act,

18 U.S.C. § 3161. The Court offered to set the trial for August 4, 2020, but Defendant’s counsel made

an oral motion to set the trial date beyond that date as the COVID-19 restrictions on visitation are

still in place and it is uncertain when those restrictions will be lifted.

         Based upon the foregoing, all time between the filing of this order and the trial date identified

herein is declared “excludable time” under the Speedy Trial Act. The ends of justice served by the

granting of this continuance outweigh the best interests of the public and Defendant in a speedy trial.

See 18 U.S.C. § 3161(h)(7)(A). Defendant’s motion is GRANTED.

I.       SCHEDULING DEADLINES
         The Court sets the following deadlines for this matter:

                                      Important Scheduling Dates
     Trial Date                                              September 29, 2020, at 9:00 a.m.
                                                            U.S. District Judge J. Ronnie Greer



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  Estimated length of trial                                            2 Days

  Defendant’s Pretrial Motions Due:                               August 7, 2020

  Government’s Responses Due:                                     August 21, 2020

  Plea Deadline                                                 September 15, 2020

  Requests for Special Jury Instructions                         5 days before trial


II.    PURPOSE OF ORDER AND DUTY TO CONFER

        The purpose of this Order is intended to eliminate the unnecessary filing of discovery
motions. Pursuant to Fed. R. Crim. P. 16.1(a), parties must confer within 14 days of the arraignment
to determine a timetable and procedures for pretrial disclosure under Fed. R. Crim. P. 16.

         If there are disagreements regarding discovery issues, counsel for Defendant(s) shall make
a request to the government for each item of discovery sought and be declined prior to the filing of
any motion to compel discovery and must certify in the motion that they have conferred with
opposing counsel, that they have been unable to resolve the issue by agreement, and that the matter
concerns matters not covered by this order. The Court may deny without prejudice motions filed
without the required certificate.

III.    DISCOVERY ORDER

        A.    Defendant’s Oral Statement. Within five (5) days of receipt of Defendant's request,
              the government must disclose to Defendant the discovery within the scope of Rule
              16(a)(1)(A). Similarly, the government shall disclose to an organizational defendant
              the information required by Fed. R. Crim. P. 16(a)(1)(A) upon request by the
              organizational defendant.

        B.    Written or Recorded Statements of Defendant. Within five (5) days of receipt of
              Defendant's request, the government must disclose to Defendant the discovery within
              the scope of Rule 16(a)(1)(B). Similarly, the government shall disclose to an
              organizational defendant the information required by Fed. R. Crim. P. 16(a)(1)(B)
              upon request by the organizational defendant.

       C.     Prior Record of Defendant. Within five (5) days of receipt of Defendant's request,
              the government must disclose to the defendant the discovery within the scope of Rule
              16(a)(1)(D).

       D.     Documents and Objects. Within five (5) days of receipt of Defendant's request, the
              government must disclose to the defendant the discovery within the scope of Rule
              16(a)(1)(E).



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      E.   Reports of Examinations and Tests. Within five (5) days of receipt of Defendant's
           request, the government must disclose to Defendant the discovery within the scope of
           Rule 16(a)(1)(F).

      F.   Expert Witnesses. Within five (5) days of receipt of Defendant's request, the
           government must disclose to Defendant the discovery within the scope of Rule
           16(a)(1)(G).

      G.   Expert Witnesses regarding Defendant’s Mental Condition. Defendant must
           within five days of the government’s request provide the government a written
           summary of testimony Defendant intends to offer as provided for in Rule 16(b)(1)(C).

           If the government requests discovery under this paragraph (H), within five (5) days of
           Defendant’s request, the government must provide a written summary of testimony
           the government intends to offer as provided for in Rule 16(a)(1)(G).

      H.   Expert Witnesses at Pretrial hearings – Five (5) Days’ Notice Required. If either
           the government or a Defendant intends to offer the testimony of an expert witness
           in conjunction with any pretrial hearing in order to give an opinion based upon
           scientific, technical, or other specialized knowledge, the party intending to utilize
           the witness shall notify opposing counsel at least five (5) business days prior to the
           hearing and furnish a written summary of the testimony which shall describe the
           witness’s opinions, the bases and the reasons for those opinions, and the witness’s
           qualifications.

      I.   Continuing Duty to Disclose. It shall be the continuing duty of counsel for all parties
           to immediately reveal to opposing counsel all subsequently discovered information or
           other material within the scope of this order or Rule 16.

      J.   Reciprocal Discovery Obligations

           1.     Receipt of discovery treated as a request. The government routinely
                  provides defendants with discovery provided for under Rule 16(a)(1)(E)
                  (relating to disclosure of documents and objects) and Rule 16(a)(1)(F)(relating
                  to reports of examinations and tests) soon after the initial appearance. If the
                  government provides Defendant with such discovery, the Court will presume
                  that Defendant has requested the same under Rule 16(a)(1)(E) and (a)(1)(F),
                  triggering its reciprocal obligations under Rule 16(b)(1)(A) and (B).

           2.     Opting Out of Discovery. A Defendant who elects not to request disclosure
                  as outlined herein or under both Fed. R. Crim. P. 16(a)(1)(E) (relating to
                  documents and tangible objects) and under Rule 16(a)(1)(F) (relating to
                  reports of examinations and tests), has no obligation to provide reciprocal
                  discovery to the government pursuant to Rule 16(b)(1)(A) and Rule
                  16(b)(1)(B). However, if Defendant receives discovery from the government,
                  the Court will presume he requested it for purposes of determining
                  Defendant’s reciprocal discovery obligations.


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      K.    Brady material

            1.     Timing of Disclosure. Within 14 days of the arraignment, except where the
                   Brady material is covered by the Jencks Act, 18 U.S.C. § 3500, then the
                   Jencks Act will control the timing of disclosure.

            2.     Nature of Disclosure. The government shall reveal to Defendant and permit
                   Defendant to inspect and copy all evidence known to the government which
                   may be favorable to Defendant on the issues of guilt or punishment within the
                   scope of Brady v. Maryland, 373 U.S. 83 (1963), United States v. Agurs, 427
                   U.S. 97 (1976), United States v. Bagley, 473 U.S. 667 (1985), and Kyles v.
                   Whitley, 514 U.S. 419 (1995).

      L.    Giglio material

            1.     Timing of Disclosure. Not later than 7 days prior to trial shall the material
                   governed by this section be disclosed.

            2.     Nature of Disclosure. The government shall disclose to Defendant the
                   existence and substance of any payments, promises of immunity, leniency,
                   preferential treatment, or other inducements made to prospective government
                   witnesses to the extent required by Giglio v. United States, 405 U.S. 150
                   (1972) (impeachment evidence) and Napue v. Illinois, 360 U.S. 264 (1959).

            3.     Criminal Record of Witness. For each witness who will testify for the
                   government at trial, the government shall supply the defendant with a record
                   of all prior convictions of the type that may be used to impeach a witness
                   pursuant to Rule 609, Fed.R.Evid.

      M.    Jencks Act Material

            1.     Duty to Comply. All parties shall be prepared to comply with the Jencks
                   Act, 18 U.S.C. § 3500 and Fed.R.Crim.P. 26.2 relating to the production of
                   witness statements on demand after the witness has testified on direct
                   examination.

            2.     Early Disclosure. To avoid disruptions in the progress of the trial, and perhaps
                   even continuances of the trial, the Court strongly urges the government to reveal
                   Jencks Act material to defense counsel before the commencement of trial. The
                   parties may agree on – but the Court does not order – an earlier time for the
                   exchange or production of Jencks Act and Rule 26.2 material.

       N.   Identity of Defendant in a photo lineup

            1.     Timing of disclosure. Within 14 days of arraignment.



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               2.      Nature of Disclosure. The government shall state whether Defendant was
                       identified in any lineup, show up, photo spread, or similar identification
                       proceedings, and produce any pictures utilized or resulting therefrom.

IV.    PRESERVATION OF AGENT’S ROUGH NOTES.

       The Government shall advise its agents and officers involved in this matter to preserve
       all rough notes. Rough notes which contain the substance of any relevant oral statements
       made by Defendant before or after arrest in response to interrogation by a person Defendant
       knew was a government agent are subject to disclosure pursuant to Rule 16(a)(1)(B)(ii),
       Federal Rules of Criminal Procedure.

V.     ELECTRONIC SURVEILLANCE.

       A.      Timing of Notice. Within 14 days of the date of this Order, the government shall
               state whether Defendant was an aggrieved person, as defined in 18 U.S.C. §
               2510(11), of any electronic surveillance and, if so, shall set forth in detail the
               circumstances thereof.

       B.      Contents of Notice. Specifically, the government shall disclose to the defendant the
               nature and extent of the use of electronic surveillance (including wiretapping,
               consensual monitoring, body wires, tape recordings, transmission devices, videotape
               recordings, bank surveillance recordings, pen registers) or mail covers conducted by
               law enforcement officers or witnesses in investigating this case, and also disclose the
               existence of all recordings obtained and final transcripts made during the
               investigation, regardless of whether the government intends to use the recordings
               and transcripts in its case-in-chief.

VI.    FINGERPRINT ANALYSIS.

        Within five (5) days of the request by Defendant, the government shall provide the defense,
for independent expert examination, copies of all latent fingerprints or palm prints which have been
identified by a Government expert as those of Defendant.

VII. PROCEDURE             FOR       RESOLVING           OBJECTIONS           TO      AUDIO/VIDEO
RECORDINGS.

       A.      Need for Robinson hearing. If a Defendant files (1) a motion to exclude an audio
               or video recording because the allegedly inaudible and/or unintelligible portions of
               the recording are so substantial as to render the recording as a whole untrustworthy, or
               (2) a motion to prohibit the use of a transcript of a recording, then a “Robinson” hearing
               may be required. See United States v. Robinson, 707 F.2d 872 (6th Cir. 1983).

               If defense counsel believes that an entire recording should be excluded as
               untrustworthy under Robinson, a hearing will be held at the pretrial conference and
               motion hearing. Similarly, a hearing will be conducted at the same time regarding the



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           accuracy of any transcript which is disputed by Defendant. If such a hearing is
           required, the government and the Clerk shall have available for the Court’s use the
           audio and/or video equipment to be used at trial or comparable equipment. The
           parties shall notify the Magistrate Judge if such a hearing will in fact be needed.

      B.   Duty to confer. Defendant’s counsel will, not later than seven (7) days before the
           pretrial conference, meet and confer with the government’s counsel and identify
           what recording or portions of a recording the Defendant insists should be wholly
           excluded as untrustworthy under Robinson.

      C.   Transcripts. If the government intends to prepare and submit transcripts of any
           recording, it shall submit those transcripts to defense counsel at the time the recording
           is reviewed so that any objections to such transcripts may be presented at the time of
           the Robinson hearing. Counsel shall review any transcripts contemporaneously with
           his/her review of the actual recordings and, on or before seven (7) days prior to the
           pretrial conference, identify to the government’s attorney all portions of the
           transcripts claimed to be inaccurate or unverifiable after listening to the recordings
           themselves.

      D.   Resolution of Disagreements. The Court prefers the parties to stipulate to any
           transcript. If a stipulation is not possible, the parties are to advise the Court accordingly
           and identify the areas of disagreement regarding the accuracy of the transcript and the
           Court will listen to the recordings with the transcript and make a pretrial determination.
           Where portions of the recording are inaudible, the transcript should so reflect. United
           States v. Adams, 722 F.3d 788, 824 (6th Cir. 2013).

VIII. USE OF CO-CONSPIRATOR’S STATEMENTS AND REQUIREMENT OF
      GOVERNMENT TO FILE NOTICE OF INTENT TO USE.

      A.   Admissibility of Co-Conspirator Statements. If the government intends to offer
           evidence under F.R.E. 801(d)(2)(E), then the admissibility of an alleged co-
           conspirator’s statements under F.R.E. 801(d)(2)(E) will be determined in accordance
           with United States v. Vinson, 606 F.2d 149 (6th Cir. 1979); specifically, such
           statements will be admitted subject to a later demonstration during the trial by a
           preponderance of the evidence that the statements were made during the course and
           in furtherance of the conspiracy.

      B.   Notice Required.       If the government intends to introduce a co-conspirator’s
           statements under F.R.E. 801(d)(2)(E), the government shall file a notice not later than
           seven (7) days prior to the commencement of the trial. The notice must include the
           following: (1) the substance of the statements to be introduced under F.R.E.
           801(d)(2)(E); (2) when those statements were made, where they were made, and to
           whom they were made; and (3) a summary of the evidence which the government
           will present to establish the existence of the conspiracy, that the declarant was a
           member of that conspiracy, and that the statements were made during and in
           furtherance of the conspiracy.



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       C.        Pre-trial contest to admissibility. If Defendant intends to contest the admissibility
                 of any statements offered under Fed.R.Evid. 801(d)(2)(E), prior to the commencement
                 of the trial, Defendant shall file and serve upon the government’s attorney a motion in
                 which Defendant shall state the grounds and specify the reasons why the statements
                 are not admissible under F.R.E. 801(d)(2)(E). A copy of such motion shall be
                 delivered to the District Judge contemporaneously with its filing.

IX.    RULE 404(b) EVIDENCE

       A.        Timing of Notice. Upon request by Defendant, the government shall provide notice
                 at least seven (7) days in advance of trial, or during trial if the Court excuses pretrial
                 notice on good cause shown, of the general nature of any Rule 404(b)-type evidence it
                 intends to introduce at trial. Pretrial disclosure of such evidence will be excused
                 where its use only becomes indicated due to events at trial or such evidence
                 constitutes legitimate rebuttal evidence.

       B.        Nature of Disclosure. The government shall also disclose the general purpose of
                 the evidence (e.g., proof of motive, opportunity, intent, preparation, plan,
                 knowledge, identity, or absence of mistake or accident). The government’s written
                 disclosure shall characterize Defendant’s specific prior conduct to a degree that fairly
                 apprises Defendant of its general nature.

X.     INSANITY DEFENSE

      If a Defendant intends to assert a defense of insanity, Rule 12.2 Fed. R. Crim. P.
Defendant(s) shall submit the required written notification(s) by the deadline for the filing of pretrial
motions.

XI.      FILING OF MOTIONS AND RESPONSES.

       A.        Timing of filing Motions. All motions (including, but not limited to, motions in
                 limine, motions to suppress, and objections to any evidence) shall be filed by the
                 motion deadline. A response to a motion filed by either party shall be filed by the
                 response deadline. FAILURE TO RESPOND TO A MOTION MAY BE DEEMED
                 A WAIVER OF ANY OPPOSITION TO THE RELIEF SOUGHT IN THE
                 MOTION.

         B.      Memorandum of Law Required. All motions that require a brief shall be
                 accompanied by a separate brief or they may be subject to summary denial. Local
                 Rule 7.1.

         C.      Evidentiary Hearings. Motions will be decided in accordance with Local Rule 7.2;
                 in this regard, the Court may rule upon any motion without a hearing thereon if
                 such is deemed unnecessary by the Court, notwithstanding that a motion hearing has
                 been scheduled.

            D.   Motions to Suppress


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            1.     Requirement of specificity. If Defendant files a motion to suppress a
                   statement, or evidence seized as a result of a search (whether with or without a
                   warrant), Defendant’s motion shall (1) specify in detail each fact which
                   Defendant claims requires suppression of the statement or evidence, and (2)
                   the legal basis supporting suppression. See, Franks v. Delaware, 438 U.S.
                   154 (1978); United States v. Giacalone, 853 F.2d 470 (6th Cir. 1988); United
                   States v. Thompson, 2001 WL 820905 (6th Cir. 2001).

            2.     Waiver. Failure to raise the issue before the Magistrate Judge may constitute
                   a waiver of the issue. For that reason, Defendant should raise every factual
                   and legal issue which he claims requires suppression.

       E.   Adoption of Motions of co-defendants

            1.     Requirement of specificity. If counsel files a motion to adopt any motions of
                   one or more co-defendants, it should be specifically stated which motion(s)
                   counsel wishes to so adopt.

            2.     General adoption reference. Counsel shall not file a motion that merely
                   adopts, or requests to adopt, any or all motions of co-defendants.

       F.   Untimely Motions.

            1.     Canceling of Pre-trial Conference and Motion Hearing. If no motions are
                   filed by the motion deadline, the Court will cancel any pre-trial conference
                   and motion hearing scheduled, and will not set such hearing unless the parties
                   notify the Court that such is necessary to address issues outstanding that were
                   not subject to a motion hearing.

            2.     Summary Denial. Motions filed after the motion deadline may in the
                   discretion of the District Judge or, where appropriate, the Magistrate Judge, be
                   denied summarily as untimely.

      G.    Presence of Defendant

            1.     Mandatory appearance at all evidentiary hearings. Any Defendant who
                   has filed a motion which requires the presentation of evidence must be present,
                   along with his/her counsel. This requirement cannot be waived. The Clerk
                   shall notify the U.S. Marshal of any Defendant who is in custody and who
                   must be present in court.

            2.     Optional Appearance. Any Defendant, who has filed no motions, or who has
                   filed no motions that require the presentation of evidence, may attend the
                   final pretrial conference/motion hearing but is not required to do so. If such
                   Defendant is incarcerated and wishes to attend the final pretrial



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                        conference/motion hearing, he/she must file a written request with the Clerk to
                        so attend ten (10) days prior to the hearing to afford the U.S. Marshal’s
                        adequate time to make transportation arrangements.

XII.    STIPULATIONS.

        Prior to trial, all counsel shall confer and shall make every possible effort in good faith to
stipulate facts, the truth and existence of which are not contested, in order to expedite the trial of this
matter.
        No stipulation made by defense counsel shall be used against Defendant unless the stipulation
is reduced to writing and signed by Defendant and his/her counsel. It shall be the responsibility of
the government’s attorney to initiate contact with defense counsel regarding the possibility of
stipulating uncontroverted facts as herein above described.

         SO ORDERED:


                                                         s/Cynthia Richardson Wyrick
                                                         United States Magistrate Judge




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